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             IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


KLAUBER BROTHERS, INC.,                                Case No. 1:23-cv-10407

                         Plaintiff,
            ~ versus ~                               District Judge Thomas M. Durkin

THE PARTNERSHIPS AND                                 Magistrate Judge Keri L. Holle Hotaling
UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

                         Defendants.




                         MEMORANDUM OF LAW by
       DONGYAN SHENGYU ELECTRONIC COMMERCE CO., LTD.
                in Support of its MOTION IN LIMINE




                                       Baruch S. Gottesman, Esq.
                                       GOTTESMAN LEGAL PLLC
                                       11 Broadway, Suite 615
                                       New York, NY 10004
                                       Phone: (212) 401-6910
                                       bg@gottesmanlegal.com
                                       Counsel for Dongyan Shengyu
                                       Electronic Commerce Co., Ltd.


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                                          B.       Introduction

                  The Parties are scheduled for a Hearing this Tuesday, December 19, 2023, at which

it is anticipated there will be evidence taken, See, e.g., ECF 150 (authorizing appearances by

certain witnesses virtually).

                  In anticipation of certain issues related to Evidence, the Defendant Dongyan

Shengyu Electronic Commerce Co., Ltd. (“Defendant”) respectfully moves to preclude certain

potential evidence proffered by the Plaintiff as irrelevant and inadmissible settlement negotiations;

and for indicative rulings on certain matters that Dongyan intends to introduce. 1

                  We recognize that notwithstanding any “ruling on motions in limine to guide the

parties on what evidence it will admit later in trial”, “[as the] trial progresses, the presiding judge

remains free to alter earlier rulings.” Kaufman v. City of Chicago, Case No. 17-cv-07491, 2021

WL 1885985, at *6 (N.D.Ill. May 11, 2021) citing Perry v. City of Chicago, 733 F.3d 248, 252

(7th Cir. 2013). Therefore, to the extent that some of the issues raised in this Motion may require

further foundation or oral argument at the time the proffered material is offered into evidence, we

respectfully ask the Court to consider this a “skeleton argument” of potential areas of controversy.

                  As we will argue below, any communications in further settlement discussions must

be excluded. Further testimony by the Affiant on the circumstances of the publication website and

other documentary evidence should be taken.




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     I have asked the Plaintiff’s Counsel for their position on this Motion, to which they have not responded. Given
     the Plaintiff’s Counsel’s efforts to have the material at issue in Points 1 and 2, admitted (See ECF 108, 109, and
     110) we assume Plaintiff opposes these requests.


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                     C.      Factual and Procedural Background

1.     Three Potentially Key Evidentiary Issues
       at the Hearing this Tuesday

               This Honorable Court has scheduled a hearing for this coming Tuesday that the

Defendant understands may address, among other things: (i.) Notice (or lack thereof) of this

lawsuit and of the Preliminary Injunction to the Parties; (ii.) and the net income earned by the

Defendant from the allegedly infringing ASINs.

               In support of the Plaintiff’s position on the Motion to Vacate the Preliminary

Injunction, the Plaintiff has moved for this Honorable Court to take Judicial Notice of certain

websites by attorneys in the United States and China (ECF 109 – “Request for Judicial Notice”)

that are purported “owned, operated and controlled by counsel for Defendants” ECF 109 at p. 2.

We oppose such Judicial Notice for the reasons argued below.

               In support of the Plaintiff’s position in opposition to the Motion to Vacate the

Preliminary Injunction, the Plaintiff sought to enter into evidence heavily redacted and context-

free settlement negotiations and potentially may rely on the fact of the negotiations to impeach a

witness or on the conduct of the negotiations to promote its position, See Counsel Barrett’s

Affidavit in Support at ECF 110-1 and accompanying Exhibits and ECF 108-1 and accompanying

Exhibits. We oppose the consideration of this inadmissible material as presented in the Affidavits

in Support.

               Further, the Plaintiff’s position as it relates to the “Notice” and communications

with Amazon, are premised on factual representations by Counsel Barrett about the

communications, the website and other factual information. For that reason, we respectfully seek

an indicative ruling and – in the alternative – respectfully outline the argument we would present

to the Court on why their testimony should be taken notwithstanding their role as Counsel.



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                                     D.     Legal Argument

                  1.       Judicial Notice Should not be Taken
                           of the Three Proffered Websites

                  The Plaintiff asks this Court to take judicial notice of three webpages.

                  (i.)     the landing page for a Beijing law firm;

                  (ii.)    an information page by a Beijing law firm; and

                  (iii.)   a page by a Beijing lawfirm referring to its “U.S. Branch”.

                  ECF 109.

                  None of these pages are self-authenticating, none of these are relevant, none of

these contain admissible evidence, and therefore the Court should not take judicial notice of any

of these pages.

                           a. The Proffered Webpages are inadmissible

                  The Plaintiff asks the Court to take judicial Notice of:

                              http://www.zonghenglawfirm.com.cn/lxwm.

                  That page is in Mandarin, See Exhibit A to the Gottesman Affirmation. There are

two potential ways this could be shown in English. First – one could click on the “ENGLISH” tab

on the top right, which is a link to http://816324649.bj.wezhan.cn/. However, that wezhan.cn link

is dead, See Exhibit B to the Gottesman Affirmation. A review of that wezhan.cn link on the

Wayback Machine maintained by Archive.org, See Galanis v. Starbucks Corp., Case No. 16-cv-

4705, 2016 WL 6037962, at *4 (N.D.Ill. Oct. 14, 2016)(crediting for purposes of a Rule 12(b)(6)

Motion to Dismiss the allegations in Complaint premised on Wayback Machine records); and

Hepp v. Ultra Green Energy Services, LLC, Case No. 13-cv-4692, 2016 WL 1073070, at *5

(N.D.Ill. Mar. 18, 2016) (taking judicial notice of Wayback Machine record and citing collected

cases catalogued in Erickson v. Nebraska Machine Co., 2015 WL 4089849, at *1 (N.D.Cal. July


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6, 2015)) shows that wezhan.cn was last updated in June 2011, makes no reference to American

operations, and does not otherwise correspond to the China-language original. See Exhibit C of

the Gottesman Affirmation.

               Rather, it appears that the proffered printout came through a second means. Namely,

the automatic translation by the Alphabet (formerly Google) web-browser called Chrome, and not

an independent translation, See United States v. Vega, 860 F.2d 779 (Oct. 17, 1988) citing United

States v. Zambrana, 841 F.2d 1320 (7th Cir. 1988) for the rule that the admission and weight of

translations are weighed by trier of fact only where “cross-examination was freely permitted and

expert witnesses on language translation were offered.”

               Respectfully, this is the wrong case to open the door to AI translation material being

admitted, See, e.g., Mata v. Avianca, Inc., Case 22-cv-1461, 2023 WL 4114965, F.Supp.3d ___

(S.D.N.Y. June 22, 2023)(sanctioning references to inauthentic AI-generated caselaw); United

States v. Cohen, Case 18-cv-602, ECF 96 (S.D.N.Y. Dec. 12, 2023)(Order to Show Cause ordering

production of alleged AI-generated opinions and why sanctions should not be imposed). For the

avoidance of doubt – we are not implying any wrongdoing by the Plaintiff or their Counsel for

providing an automatically generated translation by Chrome. Our citations to Mata and Cohen are

only intended to emphasize the recent trend by District Courts to frown on reliance on

AI-generated material. We respectfully suggest that this rule should also apply to automatically

generated translations such as the Chrome-translated webpage proffered by the Plaintiff, which

has no independent indicia of reliability.

               Next, the Plaintiff asks this Court to take judicial notice of:

                   http://www.mainleaf-law.com/single/310.html (“310 page”)




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               This is a dead link. See Exhibit D of the Gottesman Affidavit in Support. The most

recent Wayback Machine capture is from April 2021 showing that the page is entirely in Chinese.

As noted above, automatic translations are entirely inappropriate, especially as it relates to cross-

cultural misunderstandings.

               To provide two key examples: the 310 page references three times the firm’s

connections with 当地白人律师 (dāng • dì bái • rén lǜ • shī), which is oddly translated in the

proffered exhibit as “white lawyers”, based on the term 白人 (bái • rén). But we respectfully submit

that if cross-examined, any translator would advise that in a Chinese cultural context of

international business, 白人 (bái • rén) is synonymous with 西人(xī • rén) meaning “Western Man”

and has no racial connotation. See, e.g., 白人 (bái • rén), WIKIPEDIA at n.1, available at https://zh.

wikipedia.org/zh-hans/白人#cite_ref-1 (clarifying that bái • rén is synonymous with xī • rén) and in

the context of the website, appears to merely be an emphasis that the attorneys are 当地 (dāng • dì),

meaning “local” and not China-based lawyers working overseas. Indeed the Mainleaf page shows

three attorneys, of whom two are plainly not 白人 (bái • rén) in the literal sense.

               The other example is the citation of the translation as promoting parties to “evade

liability for their infringement”, when in fact if a bona fide translator were to present the Exhibit

for admission, they would be cross-examined on the tone because the webpage simply provides

general information about how infringement cases play out in practice.

               Last, the Plaintiff asks this Court to take judicial notice of:

                         http://www.mainleaf-law.com/ (“landing page”)

               As far as I can tell, the website is down, See Exhibit F. A review of the Wayback

Machine record as of June 2023 shows that the landing page is in Chinese, provides no U.S. contact

information and is otherwise inadmissible in the form that the Plaintiff seeks judicial notice.


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                       b.      The Proffered Webpages are Otherwise Irrelevant

               Learned Counsel cited Mussat v. Power Liens, LLC, No. 13-cv-7853, 2014 WL

3610991, at *6 (N.D. Ill. July 21, 2014) for the general idea that “Courts may, at their discretion,

take judicial notice of the contents of a website”, Mussat, Id.

               We would also highlight, though, that Mussat cautioned, “[t]he Internet however

contains a wide variety of information with varying levels of reliability and a court is not required

to take judicial notice of a website’s content.” Mussat, 2014 WL 3610991, at **6-7 citing Pickett

v. Sheridan Health Care Center, 664 F.3d 632, 648 (7th Cir. 2011). In Mussat, the Court elected

to not take judicial notice because the “website, without more, is not sufficiently reliable for this

Court to take judicial notice of its contents as evidence of a prior business relationship with Mussat.”

Mussat, 2014 WL 3610991, at *7.

               The websites appear to be introduced as part of an irrelevant tangent by the Plaintiff

related to Mainleaf’s settlement negotiations with Plaintiff, Mainleaf’s strategy and Mainleaf’s

business relationship with any of the Defendants, See Memorandum in Opposition at p. 7 (ECF

108); Declaration in Opposition at ¶ 7 (ECF 110-1) and elsewhere in the Plaintiff’s papers which

lean on Mainleaf’s strategy and role in this case. And perhaps the automatic translation, as

interpreted by the Plaintiff makes their websites seem distasteful from an American perspective.

But with no independent indicia of reliability and no relevance to the substantive issues, we

respectfully submit that the material the Plaintiff requests the Court take judicial notice of should

not be admitted, absent some foundation and testimony by a translator available for cross-

examination.




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               2.      Settlement Negotiations are
                       Entirely Inadmissible and Irrelevant

               The Plaintiff opposes the Motion to Dissolve the Preliminary Injunction in heavy

reliance on:

               (i.)    a heavily redacted, 9-page, e-mail chain titled
                       “Re: Settlement – RMSWEETYIL – 23-cv-10407” continuing
                       from October 4, 2023 – October 11, 2023
                       (Affidavit in Opposition at Exhibit B, ECF 108-3);

               (ii.)   a heavily redacted, 5-page, e-mail chain conducted in
                       both Mandarin and English languages titled “RMSWEETYIL”
                       from October 4, 2023 – October 21, 2023.
                       (Affidavit in Opposition at Exhibit C, ECF 108-5);

               These Exhibits are inadmissible because they are settlement negotiations and

irrelevant. The Rules provide:

               “Evidence of the following is not admissible—on behalf of any
               party—either to prove or disprove the validity or amount of a
               disputed claim or to impeach by a prior inconsistent statement or a
               contradiction:

                       “(1)   furnishing, promising, or offering—or accepting,
                              promising to accept, or offering to accept—a
                              valuable consideration in compromising or
                              attempting to compromise the claim; and

                       “(2)   conduct or a statement made during compromise
                              negotiations about the claim—except when offered
                              in a criminal case and when the negotiations related
                              to a claim by a public office in the exercise of its
                              regulatory, investigative, or enforcement authority.”

               Federal Rule of Evidence 408

               The Plaintiff’s Exhibit B (ECF 108-3) is an e-mail that appears to begin with a

introduction by “Mainleaf Settlement” from the e-mail “settlement@mainleaf-law.com”.

               The subject of the e-mail is “Settlement – RMSWEETYIL -23-cv-10407”.




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                The e-mail begins with bolded and underlined line that states:

                                     “FRE 408 Privileged Communication”

                The substance of that introductory e-mail states: “Our client is interested in

exploring settlement. Would you please send over evidence and advise a settlement offer.”

                If none of that was clear enough, the e-mail is anonymously signed “Settlement”.

                All of the above references are at ECF 108-3, pp. 9-10.

                The e-mail chain continues with a response by Plaintiff’s Counsel stating “we are

unable to propose a settlement demand without evidence showing the number of units sold and

profits earned from the sale of all infringing products” ECF, p. 9. In other words, the negotiations

continue and the Plaintiff’s Counsel invited Defendant to provide more information in order to

price a potential settlement. After some back-and-forth to identify the product allegedly being

infringed, the negotiations culminated in an entirely redacted email on October 7, 2023, ECF 108-

3, pp. 6-7.

                Plaintiff’s Counsel responded on October 10, 2023 with an e-mail beginning

“FRE 408 CONFIDENTIAL” (ECF 108-3, pp. 4-5)(Bold and underline in original), making

broad legal arguments that could potentially be relevant to any alleged infringement by any party

of any product. And then a large redacted section. A number of redacted e-mails continue through

October 11, 2023.

                If the title, name, e-mail, headlines by both sides that they contain FRE 408

CONFIDENTIAL information were not enough, the substance are about potential liability (or lack

thereof) and the redacted material presumably contained dollars and cents of the parties’

negotiations.




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               This material is squarely in the ambit of F.R.E. 408 and inadmissible to show

conduct or any party’s admission. Importantly, nothing in the communications indicates that

“Settlement” had authority to receive process on behalf of the Defendant or that it received the

relevant information to substantiate the Complaint and the Motion for TRO (and the Preliminary

Injunction) or forwarded it to their former client.

               The material plainly reads as an attorney “feeling out” the other side to see if a pre-

suit settlement would be possible. It does not in any way waive service, acknowledge service, or

provide the Defendant due process protections related to service of process; nor actual or

constructive notice of the full context of the Motion for a Preliminary Injunction.

               Further, the Rules provide:

               “An original writing . . . is required in order to prove its content
               unless these rules or a federal statute provides otherwise.”

               Federal Rule of Evidence 1002.

               A heavily redacted version of an e-mail chain that is key to prove the Defendant’s

knowledge of the proceedings is entirely inadmissible. What if the redacted material discusses the

limitations on “Settlement”’s authority to speak on behalf of his client or receive notice of the suit

and the motions? What if the redacted material describes “Settlement”’s inability to communicate

with his client? What if the redacted material provided substantial information that would tip

against the granting of the Motion for a Temporary Restraining Order (and later, a Preliminary

Injunction) which the Plaintiff misrepresented to the Court as being undisputed or uncontroverted?

               In fact, the parallel conversation directly with Defendant, advised the Plaintiff that

the Defendant is not represented by Counsel by no later than October 17, 2023. Redacting the

discussion in the e-mail chain with “Settlement” makes it all the less credible and relevant.




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               Since the best evidence rule bars the admission of redacted material that omits

potentially key parts of the document, the Exhibit is not admissible under F.R.E. 1002.

               Turning to the second e-mail chain (Plaintiff’s Exhibit D (ECF 108-5)) begins with

Mandarin language outreach to the Plaintiff’s Counsel on October 4, 2023 (ECF 108-5, p. 6).

Plaintiff claims that a Google Translation of the message reads, inter alia, “[w]e hope you will

inform us of the specific information about the infringement so that we can correct it. and hope

you can withdraw your complaint.” quickly followed by an e-mail from a firm, ECF 108-1, p. 2.

               While not written by an attorney, that introductory e-mail is plainly made in the

spirit of settlement. And indeed, later conversations in that same e-mail chain between the parties

in the e-mail chain are specific dollar-and-cents numbers of the alleged value of the store, and

potential outcomes if a reasonable offer is not made, See ECF 108-5, pp. 3-4.

               Plainly this is inadmissible as settlement negotiations and inadmissible under the

Best Evidence Rule.

               For this reason, we respectfully submit that the e-mail chains that the Plaintiff seeks

to admit are inadmissible.



               3.     Testimony of Affiant is Crucial

               “The advocate-witness rule bars counsel from acting as both an advocate and a

witness in a single proceeding except under special circumstances.” Ewing v. 1645 W. Farragut,

LLC, No. 16 C 9930, 2020 WL 6074184, at *2 (N.D. Ill. May 11, 2020) citing Petrilli v. Drechsel,

94 F.3d 325, 330 (7th Cir. 1996). We believe that this case presents “special circumstances” where

the testimony of Counsel Barrett can be taken without requiring his recusal from this case.




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               Even upon the adoption of the Model Rules of the A.B.A., by the Northern District

of Illinois in June 2011, it remains “within the discretion of the trial court to determine whether

the advocate-witness rule bars counsel from testifying in a particular case without withdrawing.”

Ewing, 2020 WL 6074184, at **2-3 citing United States v. Jones, 600 F.3d 847, 862 (7th Cir.

2010).

               In this case, the Affidavits by Counsel Barrett personally describe and introduce the

facts and circumstances of the communications with Counsel, with the Defendant, with Amazon,

and the creation and maintenance of the publication website. However, the risks of violating the

advocate-witness rule (objectivity, confusion by trier of fact, and appearance of impropriety), See

Mercury Vapor Processing Techs., Inc. v. Village of Riverdale, 545 F.Supp. 2d 783 (N.D.Ill. Mar.

4, 2008) citing United States v. Morris, 714 F.2d 669, 671 (7th Cir. 1983) do not apply.

               Defendant’s Counsel does not doubt the ability of Counsel to testify objectively on

the basis of documentary evidence, nor does the Defendant’s Counsel believe there is any

appearance of impropriety. These both touch on the second point of “confusion” by the trier of

fact, which given the circumstances at this bench hearing is irrelevant.

               For these reasons we respectfully submit that Counsel should be authorized to

testify without it requiring their recusal from this case.




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                                       E.      Conclusion

               For these reasons the Court should not take judicial notice of the Websites proffered

by the Plaintiff, and the e-mail chains are inadmissible settlement negotiations. In addition,

Counsel can testify without triggering a need to recuse.




DATED:         DECEMBER 18, 2023




                                             RESPECTFULLY SUBMITTED,

                                      By:
                                             Baruch S. Gottesman, Esq.
                                             GOTTESMAN LEGAL PLLC
                                             11 Broadway, Suite 615
                                             New York, NY 10004
                                             Phone: (212) 401-6910
                                             bg@gottesmanlegal.com
                                             Counsel for Dongyan Shengyu
                                             Electronic Commerce Co., Ltd.




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                               CERTIFICATE OF SERVICE

              I hereby certify that on December 18, 2023, simultaneous with the filing of this
Submission, a copy of this submission was served upon counsel for all Appearing Parties using
the court’s CM/ECF system which will provide a notice of electronic filing to the following
counsel of record of consent in writing to accept this notice of service of this document by
electronic means:


Mackenzie Paladino, Esq.
Trevor Barrett
DONIGER / BURROUGHS
247 Water Street, First Floor
New York, NY 10038
Phone: (310) 590-1820
Email: <Mpaladino@donigerlawfirm.com>
       <Tbarrett@donigerlawfirm.com>
Counsel for Plaintiff


Ruoting Men, Esq.
Tao Liu, Esq.
GLACIER LAW LLP
41 Madison Avenue, Suite 2529
New York, NY 10010
Phone: (332) 270-0413 / (332) 208-1505
Email: <Ruoting@glacier.law >
       <Tao.Liu@glacier.law>
Counsel for    Defendant Shenzhen Lingyun Network Technology Co., Ltd.
               doing business as | RSLOVE |

Adam Edward Urbanczyk, Esq.
AU LLC
444 West Lake, 17th Floor
Chicago, IL 60606
Phone: (312) 715-7312
Email: AdamU@au-LLC.com
Counsel for Defendants BOAO Network, Skylety Direct, and lertree




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Gei Li
GETECH LAW LLC
203 N. Lasalle, Unit 2100
Chicago, IL 60601
Phone: (312) 888-6633
Email: Linda.Lei@gettechlaw.com
Counsel for Defendant Suzhou BSL Garments Co., Ltd. (Amazon store jack smith)


Timothy Alan Duffy
LAW OFFICE OF TIMOTHY A. DUFFY, P.L.
725 W. Orchard Cir. 60045
Phone: (847) 530-4920
Email: Tduffy@tduffylaw.com
Counsel for Defendant Cheng Du Ruiland Tianhui Keji Youziangongsi

Distribution List
<Mpaladino@donigerlawfirm.com>
<Tbarrett@donigerlawfirm.com>
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<Tduffy@tduffylaw.com>




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